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                                UNITED STATES DISTRICT COURT 
                                WESTERN DISTRICT OF LOUISIANA 
                                    SHREVEPORT DIVISION 

 UNITED STATES OF AMERICA                                CASE NO.  5:17‐cr‐00221‐01   
 VS.                                                     JUDGE: HICKS  
 HERLIN JEOVANNI PORTILLO‐GOMEZ                          MAGISTRATE JUDGE: HORNSBY 
  
  
                                           MINUTES OF COURT: 
                                 Initial Appearance and Arraignment 
 Date:                  August 29, 2017                  Presiding: Magistrate Judge Hornsby 
 Court Opened:          04:00 p.m.                       Courtroom Deputy: Suzanne Delgado 
 Court Adjourned:   05:30 p.m.                           Court Reporter: Marie Runyon 
 Statistical Time: 
                        01:30                             
                                             APPEARANCES 
 1. Tiffany Fields, AUSA                                 for    United States of America 
 2. J. Antonio Florence, CJA Appointed counsel           for    Herlin Jeovanni Portillo‐Gomez 
 3. Laura Addington, Spanish Interpreter                 for    Herlin Jeovanni Portillo‐Gomez 
 4. Herlin Jeovanni Portillo‐Gomez, Defendant 
  
                                              PROCEEDINGS 
  
 ARRAIGNMENT: 
  
 The defendant, under oath, consented to the entry of a felony guilty plea before the magistrate 
 judge who finds that the record adequately establishes a factual basis for the plea of guilty to 
 Count One of the Bill of Information. 
  
 The court finds that after having been fully advised of his Rule 11 rights, the defendant 
 understands the nature of the offenses charged and the maximum penalties, and has freely and 
 voluntarily waived his right to a jury trial.   
  
 ORAL REPORT AND RECOMMENDATION: 
  
 Oral Report and Recommendation that the Court accept the guilty plea by the defendant and 
 the defendant be adjudged guilty of the offense. Further recommended that, pursuant to the 
 parties’ waiver of their right to object, that the District Court immediately adopt the report and 
 recommendation without passage of the customary delays. A written report and 
 recommendation will follow. 
  
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 A pre‐sentence investigation is ordered, and sentencing is set for December 6, 2017 at 2:30 
 p.m. before Judge Hicks.  Sentencing memoranda (if any) must be submitted to chambers at 
 least seven (7) days before sentencing. 
  
 FILINGS: 
  
      signed plea agreement 
      signed affidavit of understanding of maximum penalties and constitutional rights 
      signed factual basis for guilty plea 
      elements of the offense 
          
      signed waiver of Indictment 
  
      signed consent to proceed before the magistrate judge
